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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                                           )
     In re:                                                                )    Chapter 11
                                                                           )
     LE TOTE, INC., et al.,1                                               )    Case No. 20-33332 (KLP)
                                                                           )
                              Debtors.                                     )    (Jointly Administered)
                                                                           )

                   ORDER GRANTING FIRST INTERIM FEE
            APPLICATION OF NFLUENCE PARTNERS AS INVESTMENT
       BANKER FOR THE DEBTORS FOR COMPENSATION FOR PROFESSIONAL
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
     THE PERIOD FROM OCTOBER 1, 2020 TO AND INCLUDING OCTOBER 31, 2020

              Upon the application (the “Interim Fee Application”)2 of HMAdviseCo, LLC d/b/a

 Nfluence Partners (“Nfluence”), the investment banker for the above captioned debtors and debtors

 in possession (collectively, the “Debtors”), for entry of an order (this “Order”), pursuant to

 sections 328, 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2016, Local Bankruptcy Rule

 2016-1, and the Interim Compensation Order, for allowance of interim compensation for

 professional services rendered by Nfluence during the period from the Petition Date to and

 including October 31, 2020 (the “Interim Compensation Period”) in the amount of $75,000.00 and

 reimbursement of expenses incurred during such period in connection with such services in the

 amount of $0.00; and this Court having determined that the legal and factual bases set forth in the

 Interim Fee Application establish just cause for the relief granted herein; and after due deliberation



 1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.stretto.com/letote/. The location of the Debtors’ service address is
       250 Vesey Street, 22nd Floor, New York, New York 10281.

 2
       Unless otherwise stated, all capitalized terms used but not otherwise defined herein shall have the meanings
       ascribed to such terms in the Interim Fee Application.



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 and sufficient cause appearing therefore,

         IT IS HEREBY ORDERED THAT:

         1.     The Interim Fee Application is GRANTED as set forth herein.

         2.     Nfluence allowed compensation for professional services rendered during the

 Interim Compensation Period in the amount of $75,000.00.

         3.     Nfluence is allowed reimbursement of expenses incurred during the Interim

 Compensation Period in connection with its services to the Debtors in the amount of $0.00.

         4.     The Debtors are authorized and directed to pay Nfluence all fees and expenses

 allowed pursuant to this Order, less any amounts previously paid for such fees and expenses.

         5.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted by this Order in accordance with the Interim Fee Application.

         6.     This Court shall retain jurisdiction with respect to all matters arising from or

 relating to the implementation or interpretation of this Order.




         Jan 14 2021                                /s/ Keith L Phillips
  Dated: ____________
  Richmond, Virginia                                United States Bankruptcy Judge

                                                    Entered On Docket: Jan 20 2021




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  WE ASK FOR THIS:

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  - and -

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  Co-Counsel to the Debtors and Debtors in Possession



  SEEN AND AGREED:


  /s/ Elisabetta Gasparini
  Elisabetta G. Gasparini
  Office of the United States Trustee
  1835 Assembly Street
  Columbia, SC 29201
  Telephone: (803) 765-5250
  Office of the United States Trustee


                                       CERTIFICATION OF ENDORSEMENT
                                    UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

          Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing proposed order has been
  endorsed by or served upon all necessary parties.

                                                         /s/ Jeremy S. Williams




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